 Fill in this information to identify the case:

 Debtor 1              Maria Gilda Lee
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Western
 United States Bankruptcy Court for the: ______________________              Washington
                                                                District of __________
                                                                             (State)
 Case number            15-16900-TWD
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as
                   Trustee of the Igloo Series III Trust
 Name of creditor: _______________________________________                                                           3
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0266____ ____ ____
                                                         ____                            Must be at least 21 days after date         05        2020
                                                                                                                                     ____/____/_____
                                                                                                                                          01
                                                                                         of this notice


                                                                                         New total payment:                            3,327.36
                                                                                                                                     $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         5.250
                                                  _______________%                     New interest rate:          4.250
                                                                                                                   _______________%

                                                             2,689.19
                   Current principal and interest payment: $ _______________                                                 2,434.27
                                                                                       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                                  page 1


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Debtor 1         Maria Gilda Lee
                 _______________________________________________________                                                 15-16900-TWD
                                                                                                  Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle R. Ghidotti-Gonsalves
     Signature
                                                                                                  Date    04 03 2020
                                                                                                          ____/_____/________




 Print:             Michelle R. Ghidotti-Gonsalves
                    _________________________________________________________                     Title   AUTHORIZED AGENT
                                                                                                          ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                              bknotifications@ghidottiberger.com
                                                                                                  Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 2


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                                                                           BSI Financial Services
                                                                           314 S Franklin St. / Second Floor PO Box 517
                                                                           Titusville PA 16354
                                                                           Toll Free: 800-327-7861
                                                                           Fax: 814-217-1366
                                                                           myloanweb.com/BSI



     February 20, 2020

     MARIA GILDA LEE
     C/O ADVANTAGE LEGAL GROUP
     12207 NE 8TH ST
     BELLEVUE WA 98005

                                                                                                    Loan Number:
                                                                                            Property Address: 559 LYONS PL NE
                                                                                                           RENTON WA 98059

     Dear MARIA GILDA LEE:

     Changes to Your Mortgage Interest Rate and Payments on 04/01/20

     Under the terms of your Adjustable-Rate Mortgage (ARM), you had a 012 month(s) period during
     which your interest rate stayed the same. That period ends on 04/01/20, so on that date your
     interest rate and mortgage payment change. After that, your interest rate may change every 12
     month(s) for the rest of your loan term.


                                         Current Rate                                                    New Rate
                                     and Monthly Payment                                            and Monthly Payment
Interest Rate                             5.25000%                                                       4.25000%
Principal
                                            $     738.64                                                   $     857.87

Interest
                                           $    1,950.55                                                  $     1,576.40

Escrow (Taxes
and Insurance)                              $     893.09                                                   $     893.09

Total Monthly                                                                                            $ 3,327.36
                                           $    3,582.28
Payment                                                                                                due May 1, 2020



     Interest Rate: We calculated your interest rate by taking a published “index rate” and adding a
     certain number of percentage points, called the “margin.” Under your loan agreement, your index


     Licensed as Servis One, Inc. dba BSI Financial Services.

     BSI NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
     If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a
     discharge of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of
     that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a
     demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any
     such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
                                                                                                                                 Page 1 of 3
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                                                                      BSI Financial Services
                                                                      314 S Franklin St. / Second Floor PO Box 517
                                                                      Titusville PA 16354
                                                                      Toll Free: 800-327-7861
                                                                      Fax: 814-217-1366
                                                                      myloanweb.com/BSI

rate is 1.49000% and your margin is 2.75000%. The 1 YEAR TREASURY is published Weekly in
FEDERAL RESERVE.

Rate Limit(s): Your rate cannot go higher than 18.75000% over the life of the loan. Your rate can
change each year by no more than 2.00000%. We did not include an additional 0.00000% interest
rate increase to your new rate because a rate limit applied. This additional increase may be applied
to your interest rate when it adjusts again on 04/01/21.

New Interest Rate and Monthly Payment: The table above shows your new interest rate and new
monthly payment. Your new payment is based on the 1 YEAR TREASURY, your margin, 2.75000%
your loan balance of $ 445100.38, and your remaining loan term of 295 months.


Prepayment Penalty: None

If You Anticipate Problems Making Your Payments:
      Contact the Customer Care Department at 1-1800-327-7861 as soon as possible.
      If you seek an alternative to upcoming changes to your interest rate and payment, the
        following options may be possible (most are subject to lender approval):
              Refinance your loan.
              Sell your home and use the proceeds to pay off your current loan.
              Modify your loan terms with investor.
              Payment forbearance temporarily gives you more time to pay your monthly
                payment.
      If you would like contact information for counseling agencies or program in your area, call
        the U.S. Department of Housing and Urban Development (HUD) at 1-800-569-4287 or visit
        www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm, or the U. S. Consumer Finance Protection
        Bureau (CFPB) at http://www.consumerfinance.gov . If you would like to contact
        information for state housing finance agency, contact U.S. Consumer Finance Protection
        Bureau (CFPB) at http://www.consumerfinance.gov/mortgagehelp.


Should you have any questions regarding this notice, please reach out to SCOTT HANSEN, you Single
Point of Contact for this loan, at 1-888-738-5873.

BSI Financial Services
314 S Franklin St, 2nd Floor
Titusville, PA 16354
NMLS # 38078; # 1195811



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                                                                                                                            Page 2 of 3
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                                                                      BSI Financial Services
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                                                                                                                  GR-2003-07242017_CA08082014




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                                                                                                                            Page 3 of 3
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 7
                              UNITED STATES BANKRUPTCY COURT
 8
                       WESTERN DISTRICT OF WASHINGTON, SEATTLE
 9

10
     In re:                                              )    CHAPTER 13 BANKRUPTCY
11                                                       )
     Maria Gilda Lee,                                    )    CASE NO.: 15-16900-TWD
12                                                       )
13                                                       )    CERTIFICATE OF SERVICE
                                                         )
14                                                       )
                              Debtor.                    )
15                                                       )
                                                         )
16                                                       )
17                                                       )

18   I, Jeremy Romero, declare as follows:
19              I am employed in the County of Orange, State of California. I am over the age of eighteen
20   (18) and not a party to the within action. My business is 1920 Old Tustin Avenue, Santa Ana, CA
21   92705.
22              On April 6, 2020, I served the foregoing document(s) described as;
23

24                    NOTICE OF MORTGAGE PAYMENT CHANGE;
25

26   The above listed document(s) were served on the interested parties in this action as follows;

27   ///

28   ///
                                                                           GHIDOTTI BERGER LLP
                                                                     MICHELLE R. GHIDOTTI-GONSALVES
     Certificate of Service                                               1920 OLD TUSTIN AVENUE
     Page 1                                                                 SANTA ANA, CA 92705
     Case 15-16900-TWD          Doc     Filed 04/06/20       Ent.   04/06/20  10:59:45(949)Pg.
                                                                          TELEPHONE             6 of 7
                                                                                           427-2010
 1   via US Mail:
 2

 3   Debtor                                           Debtors’ Counsel
     Maria Gilda Lee                                  Jonathan S Smith
 4   559 Lyons Place NE                               Advantage Legal Group
     Renton, WA 98059                                 12207 NE 8th St
 5                                                    Bellevue, WA 98005
     Chapter 13 Trustee
 6   Jason Wilson-Aguilar                             U.S. Trustee
     600 University St #1300                          United States Trustee
 7   Seattle, WA 98101                                700 Stewart St Ste 5103
                                                      Seattle, WA 98101
 8

 9

10   Dated: April 6, 2020
11

12   /s/Jeremy Romero__
     Jeremy Romero
13

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                                                                    GHIDOTTI BERGER LLP
                                                              MICHELLE R. GHIDOTTI-GONSALVES
     Certificate of Service                                        1920 OLD TUSTIN AVENUE
     Page 2                                                          SANTA ANA, CA 92705
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                                                                                    427-2010
